     Case 2:17-cr-00661-DMG Document 172 Filed 04/25/18 Page 1 of 38 Page ID #:1617



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 8 Attorneys for Defendant
      JULIAN OMIDI
 9
                                IN THE UNITED STATES DISTRICT COURT
10
                          FOR THE CENTRAL DISTRICT OF CALIFORNIA
11
      UNITED STATES OF AMERICA,                          Case No. CR 17-00661(A)-DMG
12
                   Plaintiff,                            [Hon. Dolly M. Gee, District Court Judge]
13          vs.
14                                                       DEFENDANT JULIAN OMIDI’S
                                                         NOTICE OF MOTION AND MOTION
15 JULIAN OMIDI, INDEPENDENT MEDICAL                     FOR BILL OF PARTICULARS
      SERVICES, INC., SURGERY CENTER
16 MANAGEMENT, LLC, and MIRALI ZARRABI,                  [MEMORANDUM OF POINTS AND
   M.D.,                                                 AUTHORITIES IN SUPPORT THEREOF]
17
                                                         Date:         Wednesday May, 23, 2018
18                 Defendants.                           Time:         2:00 p.m.
                                                         Dept.:        Courtroom 8C
19                                                       Location:     350 West 1st Street, 8th Floor
                                                                       Los Angeles, CA 90012
20                                                       Trial:        October 9, 2018 at 8:30 a.m.
21
22
23
24
25
26
27
28
30
31           Case No. CR 17-00661(A)-DMG             i
     Case 2:17-cr-00661-DMG Document 172 Filed 04/25/18 Page 2 of 38 Page ID #:1618



 1           TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
 2           PLEASE TAKE NOTICE that on Wednesday May 23, 2018, at 2:00 p.m. or, as soon as this

 3 matter may be heard in Courtroom 8C, within this Court, located at 350 West 1st Street, 8th Floor, Los
      Angeles, California, 90012, Defendant Julian Omidi (“Defendant”), by and through his counsel of
 4
      record, Roger Jon Diamond, Esq., of the Law Offices of Roger Jon Diamond, Kamille Dean, of Law
 5
      Offices of Kamille Dean, PLC , hereby move this Honorable Court for an order for the Government to
 6 produce a bill of particulars pursuant to Rule 7(f) of the Federal Rules of Criminal Procedure. Defendant
 7 seeks a bill of particulars so that, among other things, he may adequately prepare his defense and avoid
 8 prejudicial surprise at trial.
 9           The particulars sought include but are not limited to the following:

10
      Paragraph                     Vague Allegations                Specific Information needed for
11        in                                                            Julian to defend himself
12    Indictment
          10          Insurance company “typically”                What insurance company?
13                     required that the Lap-Band surgery be
                      pre-approved…                                Which insurance companies did not
14                                                                 typically require this?
15                    At least one co-morbidity, such as
                      obstructive sleep apnea (“OSA”),             How often diagnosed with a
16                    “typically” diagnosed through a sleep        different co-morbidity?
                      study                                        Are all allegations in here co-
17
                                                                   morbidity?
18         11         …the medical provider “typically”            What medical provider?
                      submitted a pre-authorization request
19         16          “Most” insurance companies required a       Which insurance companies did
20                      diagnosis moderate or severe OSA…          require this?

21     34, 35, 36      If TriCare and the Insurance Companies      The allegation of “might” does not
22                       had known any of the following, they      amount to a crime.
                          “might” have denied the claims or
23                       subjected them to additional scrutiny     Who are the victims? Who are the
                                                                   insurance companies?
24         34b          That the sleep study was not medically     Who are the victims? Who are the
25                                     necessary                   patients?

26
27      34d, 35d            That employees had received            Who are the employees?
                          commissions for the scheduling or
28                          completion of sleep studies.
30
             Case No. CR 17-00661(A)-DMG            ii
31                  DEFENDANT JULIAN OMIDI’S NOTICE OF MOTION AND MOTION FOR BILL OF
                                              PARTICULARS
     Case 2:17-cr-00661-DMG Document 172 Filed 04/25/18 Page 3 of 38 Page ID #:1619



 1        37       Together with C.K., S.J., and CC-2 and     Who are the other known co-
                   others “known and unknown to the …”        conspirators?
 2
 3                                                            Why are the other co-conspirators
                                                              “unknown”?
 4        38c           “Some” of those “Assignment of        Which AOBs?
 5                   Benefits “forms notified patients that
                     defendant J. Omidi was an owner…..       For which patients?
 6        38d        “even though some of the patients has    Which patients had no coverage
                     insurance that likely would not cover    under any circumstances?
 7                        LapBand surgery under any
 8                   circumstances” and even though there     Which patients did not have
                      was often little medical need for the   polysomnography checked but
 9                   sleep study documented ….”On some        sleep study was ordered?
10                        occasions, the check-box for
                     “Polysomnography” was not checked
11        38e       Policies set by defendant J. Omidi “and   What policies?
                                      others”
12                                                            Who are the others?
13                   At the time defendant J. Omidi “and
                           others” set these policies
14        38f        “other GET THIN employees… also          Who are the employees?
15                     received commissions relating to
                                  procedures…
16        38g            As defendant J.Omidi and co-         Who are the others?
                       conspirator C.K. knew, defendant
17
                        Zarrabi permitted his electronic
18                   signature …. Has been altered by co-
                         conspirator C.K. and “others”
19        38h       Defendant J. Omidi authorized “other”     Who are the other employees?
20                       GET THIN SSP employees…
          38k       Bore forged or Unauthorized signatures    Who are the dieticians?
21                    of “dieticians contracted with GET
                                     THIN”                    Which signatures were forged?
22
23                                                            Which signatures were
                                                              unauthorized?
24
25                                                            Who forged these signatures or
                                                              made the signatures without
26                                                            authority?
         38k1        J. Omidi at times directed GET THIN      Who are the individuals without
27
                    “employees” to revise the LOMNs…the       medical professional licenses that
28                    individuals writing and revising the    Julian Omidi allegedly directed?
30
            Case No. CR 17-00661(A)-DMG           iii
31                 DEFENDANT JULIAN OMIDI’S NOTICE OF MOTION AND MOTION FOR BILL OF
                                             PARTICULARS
     Case 2:17-cr-00661-DMG Document 172 Filed 04/25/18 Page 4 of 38 Page ID #:1620



 1                 LOMNS were not medical professionals
          38l      Defendant J. Omidi “typically” approved Which LOMNs did Omidi not
 2                  the LOMNs before they were submitted approve?
 3                 to TriCare and the Insurance Companies.
                                                           Which Insurance companies?
 4
 5                    reviewed by “physicians” ... those
                      physicians had often never seen or   What are name of these physicians?
 6                          examined the patients
                                                           What are name of these patients not
 7                                                         examined?
 8        39            GET THIN Providers, including      What claims add up to be $38
                       defendant IMS, billed…. “at least   Million?
 9                   approximately $240,000,000 for Lap-
10                      Band surgeries….” TriCare and      What claims were billed for
                     Insurance Companies paid more than    approximately $240 million?
11                    approximately $38,000,000 on those
                                   claims…
12        40               “millions in payments…          What claims?
13        41                      “patients”               What are names of patients and
                                                           dates of services?
14
15
16
17
      Paragraph               Vague COUNTS                   Specific Information needed for
18        in                                                    Julian to defend himself
      Indictment
19      Count 1    Claim form…for “D.S.”                     1) Full name of D.S;
20                                                           2) who/where/when/how for the
                                                                 mailing of said claim form;
21                                                           3) alleged fraudulent statement(s)
                                                                 contained on said claim form;
22
                                                             4) the who/where/when/ of said
23                                                               alleged fraudulent statement(s)
24                     Check provided mailed to “DME        1)    Full name of J.J.;
25      Count 2             Provider 1” for “J.J.”          2)    Full name of DME Provider
                                                                  1;
26                                                          3)    who/where/when/how
27                                                              for the mailing of said check;
                                                            4) alleged fraudulent
28                                                             statement(s) contained on said
30
            Case No. CR 17-00661(A)-DMG            iv
31                 DEFENDANT JULIAN OMIDI’S NOTICE OF MOTION AND MOTION FOR BILL OF
                                             PARTICULARS
     Case 2:17-cr-00661-DMG Document 172 Filed 04/25/18 Page 5 of 38 Page ID #:1621



 1                                                             underlying claim;
                                                           5) who/where/when of said
 2                                                             alleged fraudulent
 3                                                             statement(s);
                                                           6) who/where/when/how
 4                                                            of said approval of
 5                                                            alleged fraudulent claim

 6                  Check mailed to “DME Provider 1” for    1)      Full name of A.F.;
        Count 3                    “A.F.”                   2)      Full name of DME Provider
 7                                                                  1;
 8                                                          3)      who/where/when/how
                                                                   for the mailing of said check;
 9                                                          4)   alleged fraudulent
10                                                                statement(s) contained on said
                                                                  underlying claim;
11                                                          5)   who/where/when of said
                                                                  alleged fraudulent
12                                                                statement(s);
13                                                         6)    who/where/when/how
                                                                 of said approval of
14                                                               alleged fraudulent claim
15
                     Check mailed to “DME Provider 1” or    1)      Full name of L.M.;
16      Count 4                    “L.M.”                   2)      Full name of DME Provider
                                                                    1;
17                                                          3)      who/where/when/how
18                                                                 for the mailing of said check;
                                                            4)   alleged fraudulent
19                                                                statement(s) contained on said
20                                                                underlying claim;
                                                            5)   who/where/when of said
21                                                                alleged fraudulent
                                                                  statement(s);
22                                                         6)    who/where/when/how
23                                                               of said approval of
                                                                 alleged fraudulent claim
24
25                  Check mailed to “DME Provider 1” for    1)    Full name of J.C.;
        Count 5                     “J.C.”                  2)    Full name of DME Provider
26                                                                1;
                                                            3)    who/where/when/how
27                                                              for the mailing of said check;
28                                                          4) alleged fraudulent

30
            Case No. CR 17-00661(A)-DMG            v
31                 DEFENDANT JULIAN OMIDI’S NOTICE OF MOTION AND MOTION FOR BILL OF
                                             PARTICULARS
     Case 2:17-cr-00661-DMG Document 172 Filed 04/25/18 Page 6 of 38 Page ID #:1622



 1                                                             statement(s) contained on said
                                                               underlying claim;
 2                                                         5) who/where/when of said
 3                                                             alleged fraudulent
                                                               statement(s);
 4                                                         6) who/where/when/how
 5                                                            of said approval of
                                                              alleged fraudulent claim
 6
        Count 6     Check mailed to “DME Provider 1” for    1)      Full name of E.J.;
 7                                  “E.J.”                  2)      Full name of DME Provider
 8                                                                  1;
                                                            3)      who/where/when/how
 9                                                                 for the mailing of said check;
10                                                          4)   alleged fraudulent
                                                                  statement(s) contained on said
11                                                                underlying claim;
                                                            5)   who/where/when of said
12                                                                alleged fraudulent
13                                                                statement(s);
                                                           6)    who/where/when/how
14                                                               of said approval of
15                                                               alleged fraudulent claim

16      Count 7     Check mailed to “DME Provider 1” for    1)      Full name of M.B.;
                                   “M.B.”                   2)      Full name of DME Provider
17                                                                  1;
18                                                          3)      who/where/when/how
                                                                   for the mailing of said check;
19                                                          4)   alleged fraudulent
20                                                                statement(s) contained on said
                                                                  underlying claim;
21                                                          5)   who/where/when of said
                                                                  alleged fraudulent
22                                                                statement(s);
23                                                         6)    who/where/when/how
                                                                 of said approval of
24                                                               alleged fraudulent claim
25
        Count 8     Check mailed to “DME Provider 1” for    1)     Full name of L.W.;
26                                 “L.W.”                   2)     Full name of DME Provider
                                                                   1;
27                                                          3)     who/where/when/how
28                                                                for the mailing of said check;

30
            Case No. CR 17-00661(A)-DMG            vi
31                 DEFENDANT JULIAN OMIDI’S NOTICE OF MOTION AND MOTION FOR BILL OF
                                             PARTICULARS
     Case 2:17-cr-00661-DMG Document 172 Filed 04/25/18 Page 7 of 38 Page ID #:1623



 1                                                         4) alleged fraudulent
                                                               statement(s) contained on said
 2                                                             underlying claim;
 3                                                         5) who/where/when of said
                                                               alleged fraudulent
 4                                                             statement(s);
 5                                                         6) who/where/when/how
                                                              of said approval of
 6                                                            alleged fraudulent claim
 7      Count 9     Check mailed to “DME Provider 1” for    1)      Full name of T.L.;
 8                                 “T.L.”                   2)      Full name of DME Provider
                                                                    1;
 9                                                          3)      who/where/when/how
10                                                                 for the mailing of said check;
                                                            4)   alleged fraudulent
11                                                                statement(s) contained on said
                                                                  underlying claim;
12                                                          5)   who/where/when of said
13                                                                alleged fraudulent
                                                                  statement(s);
14                                                         6)    who/where/when/how
15                                                               of said approval of
                                                                 alleged fraudulent claim
16
        Count 10    Check mailed to “DME Provider 1” for    1)      Full name of T.S.;
17                                 “T.S.”                   2)      Full name of DME Provider
18                                                                  1;
                                                            3)      who/where/when/how
19                                                                 for the mailing of said check;
20                                                          4)   alleged fraudulent
                                                                  statement(s) contained on said
21                                                                underlying claim;
                                                            5)   who/where/when of said
22                                                                alleged fraudulent
23                                                                statement(s);
                                                           6)    who/where/when/how
24                                                               of said approval of
                                                                 alleged fraudulent claim
25
26      Count 11         Claim form mailed for “V.C.”        1) Full name of V.C.;
                                                             2) who/where/when/how for the
27                                                              mailing of said claim form;
28                                                           3) alleged fraudulent statement(s)

30
            Case No. CR 17-00661(A)-DMG           vii
31                 DEFENDANT JULIAN OMIDI’S NOTICE OF MOTION AND MOTION FOR BILL OF
                                             PARTICULARS
     Case 2:17-cr-00661-DMG Document 172 Filed 04/25/18 Page 8 of 38 Page ID #:1624



 1                                                               contained on said claim form;
                                                             4) the who/where/when/ of said
 2                                                               alleged fraudulent statement(s)
 3
        Count 12     Check issued by “GEHA” for “S.G.”      1)   Full name of S.G.;
 4                                                          2)   Full name of GEHA;
 5                                                          3)   who/where/when/how
                                                                for the mailing of said check;
 6                                                         4) alleged fraudulent
                                                               statement(s) contained on said
 7                                                             underlying claim;
 8                                                         5) who/where/when of said
                                                               alleged fraudulent
 9                                                             statement(s);
10                                                         6) who/where/when/how
                                                              of said approval of
11                                                            alleged fraudulent claim
12      Count 13      Claim form mailed to “GEHA” for        1) Full name of A.A.;
13                                “A.A.”                     2) Full name of GEHA
                                                             3) who/where/when/how for the
14                                                               mailing of said claim form;
15                                                           4) alleged fraudulent statement(s)
                                                                 contained on said claim form;
16                                                           5) the who/where/when/ of said
                                                                 alleged fraudulent statement(s)
17
18      Count 14           Check mailed for “K.R.”          1)   Full name of K.R.;
                                                            2)   who/where/when/how
19                                                              for the mailing of said check;
20                                                         3) alleged fraudulent
                                                               statement(s) contained on said
21                                                             underlying claim;
                                                           4) who/where/when of said
22                                                             alleged fraudulent
23                                                             statement(s);
                                                           5) who/where/when/how
24                                                            of said approval of
25                                                            alleged fraudulent claim

26      Count 15           Check mailed for “S.K.”          1)    Full name of S.K.;
                                                            2)    who/where/when/how
27                                                              for the mailing of said check;
28                                                          3) alleged fraudulent

30
            Case No. CR 17-00661(A)-DMG           viii
31                 DEFENDANT JULIAN OMIDI’S NOTICE OF MOTION AND MOTION FOR BILL OF
                                             PARTICULARS
     Case 2:17-cr-00661-DMG Document 172 Filed 04/25/18 Page 9 of 38 Page ID #:1625



 1                                                             statement(s) contained on said
                                                               underlying claim;
 2                                                         4) who/where/when of said
 3                                                             alleged fraudulent
                                                               statement(s);
 4                                                         5) who/where/when/how
 5                                                            of said approval of
                                                              alleged fraudulent claim
 6
        Count 16           Check mailed for “P.R.”          1)   Full name of P.R.;
 7                                                          2)   who/where/when/how
 8                                                              for the mailing of said check;
                                                           3) alleged fraudulent
 9                                                             statement(s) contained on said
10                                                             underlying claim;
                                                           4) who/where/when of said
11                                                             alleged fraudulent
                                                               statement(s);
12                                                         5) who/where/when/how
13                                                            of said approval of
                                                              alleged fraudulent claim
14
15      Count 17           Check mailed for “P.R.”          1)   Full name of P.R.;
                                                            2)   who/where/when/how
16                                                              for the mailing of said check;
                                                           3) alleged fraudulent
17                                                             statement(s) contained on said
18                                                             underlying claim;
                                                           4) who/where/when of said
19                                                             alleged fraudulent
20                                                             statement(s);
                                                           5) who/where/when/how
21                                                            of said approval of
                                                              alleged fraudulent claim
22
23      Count 18    Check mailed to “DME Provider 1: for    1)    Full name of C.R.;
                                   “C.R.”                   2)    Full name of DME Provider
24                                                                1
25                                                          3)    who/where/when/how
                                                                for the mailing of said check;
26                                                          4) alleged fraudulent
                                                               statement(s) contained on said
27                                                             underlying claim;
28                                                          5) who/where/when of said

30
            Case No. CR 17-00661(A)-DMG            ix
31                 DEFENDANT JULIAN OMIDI’S NOTICE OF MOTION AND MOTION FOR BILL OF
                                             PARTICULARS
     Case 2:17-cr-00661-DMG Document 172 Filed 04/25/18 Page 10 of 38 Page ID #:1626



 1                                                             alleged fraudulent
                                                               statement(s);
 2                                                         6) who/where/when/how
 3                                                            of said approval of
                                                              alleged fraudulent claim
 4
 5      Count 19    Check mailed to “DME Provider 1” for    1)      Full name of N.A.;
                                   “N.A.”                   2)      Full name of DME Provider
 6                                                                  1
                                                            3)      who/where/when/how
 7                                                                 for the mailing of said check;
 8                                                          4)   alleged fraudulent
                                                                  statement(s) contained on said
 9                                                                underlying claim;
10                                                          5)   who/where/when of said
                                                                  alleged fraudulent
11                                                                statement(s);
                                                           6)    who/where/when/how
12                                                               of said approval of
13                                                               alleged fraudulent claim

14      Count 20           Check mailed for “S.Z.”          1)   Full name of S.Z.;
15                                                          2)   who/where/when/how
                                                                for the mailing of said check;
16                                                         3) alleged fraudulent
                                                               statement(s) contained on said
17                                                             underlying claim;
18                                                         4) who/where/when of said
                                                               alleged fraudulent
19                                                             statement(s);
20                                                         5) who/where/when/how
                                                              of said approval of
21                                                            alleged fraudulent claim
22      Count 21      Check mailed to “T.M.” for “F.M.”     1)    Full name of T.M.;
23                                                          2)    Full name of F.M.
                                                            3)    who/where/when/how
24                                                              for the mailing of said check;
25                                                          4) alleged fraudulent
                                                               statement(s) contained on said
26                                                             underlying claim;
                                                            5) who/where/when of said
27                                                             alleged fraudulent
28                                                             statement(s);

30
            Case No. CR 17-00661(A)-DMG            x
31                 DEFENDANT JULIAN OMIDI’S NOTICE OF MOTION AND MOTION FOR BILL OF
                                             PARTICULARS
     Case 2:17-cr-00661-DMG Document 172 Filed 04/25/18 Page 11 of 38 Page ID #:1627



 1                                                         6)    who/where/when/how
                                                                 of said approval of
 2                                                               alleged fraudulent claim
 3
        Count 22           Check mailed for “S.N.”          1)   Full name of S.N.;
 4                                                          2)   who/where/when/how
 5                                                              for the mailing of said check;
                                                           3) alleged fraudulent
 6                                                             statement(s) contained on said
                                                               underlying claim;
 7                                                         4) who/where/when of said
 8                                                             alleged fraudulent
                                                               statement(s);
 9                                                         5) who/where/when/how
10                                                            of said approval of
                                                              alleged fraudulent claim
11
        Count 23           Check mailed for “A.W.”          1)   Full name of A.W.;
12                                                          2)   who/where/when/how
13                                                              for the mailing of said check;
                                                           3) alleged fraudulent
14                                                             statement(s) contained on said
15                                                             underlying claim;
                                                           4) who/where/when of said
16                                                             alleged fraudulent
                                                               statement(s);
17                                                         5) who/where/when/how
18                                                            of said approval of
                                                              alleged fraudulent claim
19
20      Count 24           Check mailed for “S.Z.”         1) Full name of S.Z.;
                                                           2)     who/where/when/how
21                                                               for the mailing of said check;
                                                           3) alleged fraudulent
22                                                              statement(s) contained on said
23                                                              underlying claim;
                                                           4) who/where/when of said
24                                                              alleged fraudulent
25                                                              statement(s);
                                                           5) who/where/when/how
26                                                             of said approval of
                                                               alleged fraudulent claim
27
28      Count 25           Check mailed for “T.R.”         1)      Full name of T.R.;

30
            Case No. CR 17-00661(A)-DMG            xi
31                 DEFENDANT JULIAN OMIDI’S NOTICE OF MOTION AND MOTION FOR BILL OF
                                             PARTICULARS
     Case 2:17-cr-00661-DMG Document 172 Filed 04/25/18 Page 12 of 38 Page ID #:1628



 1                                                         2)    who/where/when/how
                                                                for the mailing of said check;
 2                                                         3) alleged fraudulent
 3                                                             statement(s) contained on said
                                                               underlying claim;
 4                                                         4) who/where/when of said
 5                                                             alleged fraudulent
                                                               statement(s);
 6                                                         5) who/where/when/how
                                                              of said approval of
 7                                                            alleged fraudulent claim
 8
        Count 26           Check mailed for “S.N.”          1)   Full name of S.N.;
 9                                                          2)   who/where/when/how
10                                                              for the mailing of said check;
                                                           3) alleged fraudulent
11                                                             statement(s) contained on said
                                                               underlying claim;
12                                                         4) who/where/when of said
13                                                             alleged fraudulent
                                                               statement(s);
14                                                         5) who/where/when/how
15                                                            of said approval of
                                                              alleged fraudulent claim
16
        Count 27           Check mailed for “S.N.”          1)   Full name of S.N.;
17                                                          2)   who/where/when/how
18                                                              for the mailing of said check;
                                                           3) alleged fraudulent
19                                                             statement(s) contained on said
20                                                             underlying claim;
                                                           4) who/where/when of said
21                                                             alleged fraudulent
                                                               statement(s);
22                                                         5) who/where/when/how
23                                                            of said approval of
                                                              alleged fraudulent claim
24
25      Count 28           Check mailed for “K.M.”          1)    Full name of K.M.;
                                                            2)    who/where/when/how
26                                                              for the mailing of said check;
                                                            3) alleged fraudulent
27                                                             statement(s) contained on said
28                                                             underlying claim;

30
            Case No. CR 17-00661(A)-DMG           xii
31                 DEFENDANT JULIAN OMIDI’S NOTICE OF MOTION AND MOTION FOR BILL OF
                                             PARTICULARS
     Case 2:17-cr-00661-DMG Document 172 Filed 04/25/18 Page 13 of 38 Page ID #:1629



 1                                                         4) who/where/when of said
                                                               alleged fraudulent
 2                                                             statement(s);
 3                                                         5) who/where/when/how
                                                              of said approval of
 4                                                            alleged fraudulent claim
 5
        Count 29              Facsimile for K.H.            1)   Full name of K.H.;
 6                                                          2)   who/where/when/how
                                                                for the facsimile;
 7                                                         3) alleged fraudulent
 8                                                             statement(s) contained on said
                                                               facsimile documents;
 9                                                         4) who/where/when of said
10                                                             alleged fraudulent statement(s)
                                                               on said facsimile documents;
11                                                         5) who/where/when/how
                                                              of said approval(s) of
12                                                            alleged fraudulent document(s)
13
        Count 30              Facsimile for K.H.            1)   Full name of K.H.;
14                                                          2)   who/where/when/how
15                                                              for the facsimile of said check;
                                                           3) alleged fraudulent
16                                                             statement(s) contained on said
                                                               underlying claim;
17                                                         4) who/where/when of said
18                                                             alleged fraudulent
                                                               statement(s);
19                                                         5) who/where/when/how
20                                                            of said approval(s) of
                                                              alleged fraudulent claim
21
        Count 31              Facsimile for V.G.            1)   Full name of V.G.;
22                                                          2)   who/where/when/how
23                                                             for the facsimile of said check;
                                                           3) alleged fraudulent
24                                                            statement(s) contained on said
25                                                            underlying claim;
                                                           4) who/where/when of said
26                                                            alleged fraudulent
                                                              statement(s);
27                                                         5) who/where/when/how
28                                                            of said approval(s) of

30
            Case No. CR 17-00661(A)-DMG           xiii
31                 DEFENDANT JULIAN OMIDI’S NOTICE OF MOTION AND MOTION FOR BILL OF
                                             PARTICULARS
     Case 2:17-cr-00661-DMG Document 172 Filed 04/25/18 Page 14 of 38 Page ID #:1630



 1                                                                  alleged fraudulent claim
 2      Count 32    ¶47 J. Omidi aided and abetted by others   1)      Who are others known?
 3                    “known and unknown” to the Grand                 Count 21:
                                      Jury                     2)      Full name of T.M.;
 4                                                             3)      Full name of F.M.
 5                                                             4)      who/where/when/how
                                                                      for the mailing of said check;
 6                                                             5)   alleged fraudulent
                                                                     statement(s) contained on said
 7                                                                   underlying claim;
 8                                                             6)   who/where/when of said
                                                                     alleged fraudulent
 9                                                                   statement(s);
10                                                             7)   who/where/when/how
                                                                    of said approval of
11                                                                  alleged fraudulent claim
12      Count 33   ¶49 J. Omidi and Zarrabi, together          1)   Who are others known?
13                 with…. “others known and unknown”           2)   Full name of J.R.;
                   Letter of medical necessity for “J.R.”      3)   who/where/when/how
14                                                                  for the mailing of said fax;
15                                                             4) alleged fraudulent
                                                                   statement(s) contained on said
16                                                                 medical necessity and
                                                                   supporting documentation;
17                                                             5) who/where/when of said
18                                                                 alleged fraudulent
                                                                   statement(s);
19                                                             6) who/where/when/how
20                                                                of said approval(s) of
                                                                  alleged fraudulent claim
21
        Count 34      ¶49 J. Omidi and Zarrabi, together       1)   Who are others known?
22                   with…. “others known and unknown”         2)  Full name of S.N.;
23                   Letter of medical necessity for “S.N.”    3)  who/where/when/how
                                                                   for the mailing of said fax;
24                                                             4) alleged fraudulent
25                                                                statement(s) contained on said
                                                                  medical necessity and
26                                                                supporting documentation;
                                                               5) who/where/when of said
27                                                                alleged fraudulent
28                                                                statement(s);

30
            Case No. CR 17-00661(A)-DMG           xiv
31                 DEFENDANT JULIAN OMIDI’S NOTICE OF MOTION AND MOTION FOR BILL OF
                                             PARTICULARS
     Case 2:17-cr-00661-DMG Document 172 Filed 04/25/18 Page 15 of 38 Page ID #:1631



 1                                                          6)    who/where/when/how
                                                                  of said approval(s) of
 2                                                                alleged fraudulent claim
 3
        Count 35   ¶54a “individuals engaged in promoting        1) Who are individuals
 4                 GET Thin’s sleep study fraud                     promoting?
 5
                   ¶54b C.K. would hire individuals to
 6                 complete these tasks
                                                             2)     Who are the individuals
 7                 ¶                                                completing the tasks?
 8
 9                 Overt Act 1
10
                                                            For Each Overt Act:
11
                                                             3)     What specifically was the
12                                                                  payment for?
13
                                                            For each payment:
14
15                                                           4)    Full name of patients related
                                                                   to said invoice for payment
16                                                                 or commission;
                                                             5) who/where/when/how
17                                                               for the alleged fraud
18                                                                underlying said invoiced
                                                                  payment or commission;
19                                                          8) alleged fraudulent
                                                                statement(s) contained on said
20
                                                                SSR, ESS, medical necessity,
21                                                              medical services sleep study
                                                                and any other supporting
22                                                              documentation underlying said
23                                                              payment of invoice or
                                                                commission;
24                                                          9) who/where/when of said
                                                                alleged fraudulent
25
                                                                statement(s);
26                                                          10) who/where/when/how
                                                                of said approval(s) of
27                                                              alleged fraudulent claim(s)
28
30
            Case No. CR 17-00661(A)-DMG           xv
31                 DEFENDANT JULIAN OMIDI’S NOTICE OF MOTION AND MOTION FOR BILL OF
                                             PARTICULARS
     Case 2:17-cr-00661-DMG Document 172 Filed 04/25/18 Page 16 of 38 Page ID #:1632



 1
 2
 3    Count 36 and ¶57 “others known and unknown”             1)   Who are others known?
          37
 4
 5                                                          For Each Overt Act:

 6                                                            2)   What specifically was the
                                                                   payment for?
 7
 8                                                          For each payment:

 9                                                            3)    Full name of patients related
10                                                                  to said invoice for payment
                                                                    or commission;
11                                                            4) who/where/when/how
                                                                  for the alleged fraud
12                                                                 underlying said invoiced
13                                                                 payment or commission;
                                                             8) alleged fraudulent
14                                                               statement(s) contained on said
15                                                               SSR, ESS, medical necessity,
                                                                 medical services sleep study
16                                                               and any other supporting
                                                                 documentation underlying said
17                                                               payment of invoice or
18                                                               commission;
                                                             9) who/where/when of said
19                                                               alleged fraudulent
                                                                 statement(s);
20
                                                             10) who/where/when/how
21                                                               of said approval(s) of
                                                                 alleged fraudulent claim(s)
22                                                            11) Name of Defendant Zarrabi’s
23                                                             medical corporation

24
25
26      Forfeiture   ¶1a and b                                  1) what property, real or
        Allegation                                                 personal, is alleged to
27         One                                                     constitute or be derived from
28                                                                 proceeds?

30
             Case No. CR 17-00661(A)-DMG           xvi
31                  DEFENDANT JULIAN OMIDI’S NOTICE OF MOTION AND MOTION FOR BILL OF
                                              PARTICULARS
     Case 2:17-cr-00661-DMG Document 172 Filed 04/25/18 Page 17 of 38 Page ID #:1633



 1                                                              2) What amount of money is at
                                                                   issue for Count 30?
 2                                                              3) What amount of money is at
 3                                                                 issue for Count 31?

 4
 5                   ¶2                                         4) What is alleged substitute
                                                                   property?
 6
        Forfeiture   ¶1a, b, and c                              1) what property, real or
 7      Allegation                                                 personal, is alleged to
 8         Two                                                     constitute or be derived from
                                                                   proceeds?
 9
10                   ¶2
                                                                2) What is alleged substitute
11                                                                 property?
12      Forfeiture   ¶1a and b                                  1) what property, real or
13      Allegation                                                 personal, is alleged to
          Three                                                    constitute or be derived from
14                                                                 proceeds?
15                                                              2) What amount of money is at
                                                                   issue for Count 33?
16                                                              3) What amount of money is at
                                                                   issue for Count 34?
17
18                   ¶2
                                                                4) What is alleged substitute
19                                                                 property?
20
        Forfeiture   ¶1a and b                                  1) what property, real or
21      Allegation                                                 personal, is alleged to
           Four                                                    constitute or be derived from
22                                                                 proceeds?
23
24
25                   ¶2                                         2) What is alleged substitute
                                                                   property?
26
27
28
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             Case No. CR 17-00661(A)-DMG          xvii
31                  DEFENDANT JULIAN OMIDI’S NOTICE OF MOTION AND MOTION FOR BILL OF
                                              PARTICULARS
     Case 2:17-cr-00661-DMG Document 172 Filed 04/25/18 Page 18 of 38 Page ID #:1634



 1          This Motion is based on this Notice, the accompanying Memorandum of Points and
 2 Authorities, all matters which the court must or may judicially notice, and the documents
 3 and pleadings filed with this court
 4
 5 Dated: April 25, 2018                 Law Offices of Kamille Dean, PLC
                                         Law Offices of Roger Jon Diamond
 6
 7                                       By: /s/ Kamille Dean
 8                                           Kamille Dean
                                             Roger Jon Diamond
 9                                       Attorneys for Defendant
                                         JULIAN OMIDI
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            Case No. CR 17-00661(A)-DMG          xviii
31                 DEFENDANT JULIAN OMIDI’S NOTICE OF MOTION AND MOTION FOR BILL OF
                                             PARTICULARS
     Case 2:17-cr-00661-DMG Document 172 Filed 04/25/18 Page 19 of 38 Page ID #:1635



 1                                                  TABLE OF CONTENTS
                                                                                                                                   Page(s)
 2
 3 MEMORANDUM OF POINTS AND AUTHORITIES ..................................................... 1
 4
   I.   NATURE OF INDICTMENT ................................................................................... 1
 5
   ARGUMENT ....................................................................................................................... 3
 6
   II.  A BILL OF PARTICULARS SHOULD BE GRANTED WHEN THE
 7      INDICTMENT FAILS TO PROVIDE FACTUAL INFORMATION
        REQUIRED BY THE DEFENSE ............................................................................. 3
 8
 9 III. PARTICULARS SHOULD BE PROVIDED IN THIS CASE ................................. 5
10             A.       The Government Should Provide Particulars Regarding Alleged Co-
                        Conspirators..................................................................................................... 5
11
               B.       The Government Should Provide Particulars Regarding Alleged False
12                      Statements ....................................................................................................... 7
13             C.       The Government Should Provide Particulars Regarding Alleged
14                      Omissions ...................................................................................................... 10

15             D.       The Government Should Provide Particulars Regarding Money or
                        Property Allegedly Obtained by Fraud ......................................................... 11
16
               E.       The Government Should Provide Particulars Regarding Alleged
17                      Money Laundering Charges .......................................................................... 12
18 IV. CONCLUSION........................................................................................................ 14
19 CERTIFICATE OF SERVICE .......................................................................................... 15
20
21
22
23
24
25
26
27
28
30
               Case No. CR 17-00661(A)-DMG            I
31                    DEFENDANT JULIAN OMIDI’S NOTICE OF MOTION AND MOTION FOR BILL OF
                                                PARTICULARS
     Case 2:17-cr-00661-DMG Document 172 Filed 04/25/18 Page 20 of 38 Page ID #:1636



 1                                             TABLE OF AUTHORITIES
                                                                                                                           Page(s)
 2
 3    Cases
 4
      In re Advanta Corp. Sec. Litig.,
 5        180 F.3d 525 (3d Cir. 1999) ........................................................................................... 2
 6    In re CDNOW, Inc. Sec. Litig.,
          138 F. Supp. 2d 624 (E.D. Pa. 2001) .............................................................................. 2
 7
      United States v. Addonizio,
 8      451 F.2d 49 (3d Cir. 1971) ............................................................................................. 3
 9
      United States v. Barnes,
10      158 F.3d 662 (2d Cir. 1998) .......................................................................................... 4
11    United States v. Bortnovsky,
        820 F.2d 572 (2d Cir. 1987) ............................................................................. 4, 5, 9, 13
12
      United States v. Buckley,
13      689 F.2d 893 (9th Cir. 1982) .......................................................................................... 8
14
      United States v. Cafaro,
15      26 F.R.D. 170 (S.D.N.Y. 1960) .................................................................................... 10
16    United States v. Carona,
        No. SA CR 06-224, 2008 WL 1970199 (C.D. Cal. May 2, 2008) ................................ 9
17
      United States v. Chen,
18      No. C 05-375, 2006 WL 3898177 (N.D. Cal. Nov. 9, 2006) ......................................... 4
19
      United States v. Crippen,
20      579 F.2d 340 (5th Cir. 1978) .......................................................................................... 9
21    United States v. Crisona,
        271 F. Supp. 150 (S.D.N.Y. 1967) ............................................................................... 10
22
      United States v. Cutolo,
23      861 F. Supp. 1142 (E.D.N.Y. 1994) ............................................................................... 6
24
      United States v. DeGroote,
25      122 F.R.D. 131 (W.D.N.Y. 1988) .................................................................................. 6
26    United States v. Dempsey,
        733 F.2d 392 (6th Cir. 1984) .......................................................................................... 5
27
      United States v. Dicesare,
28      765 F.2d 890 (9th Cir. 1985) ........................................................................................... 6
30
               Case No. CR 17-00661(A)-DMG            II
31                    DEFENDANT JULIAN OMIDI’S NOTICE OF MOTION AND MOTION FOR BILL OF
                                                PARTICULARS
     Case 2:17-cr-00661-DMG Document 172 Filed 04/25/18 Page 21 of 38 Page ID #:1637

      TABLE OF AUTHORITIES: (continued)                                                                                  Page(s)

 1    United States v. Fassoulis,
        49 F.R.D. 43 (S.D.N.Y. 1969) ...................................................................................... 10
 2
      United States v. Gatto,
 3      746 F. Supp. 432 (D.N.J. 1990) ...................................................................................... 6
 4
      United States v. Greater Syracuse Bd. of Realtors,
 5      438 F. Supp. 376 (N.D.N.Y. 1977) ................................................................................. 4
 6    United States v. Holman,
        490 F. Supp. 755 (E.D. Pa. 1980) ................................................................................... 6
 7
      United States v. Hughes,
 8      817 F.2d 268 (5th Cir. 1987) .......................................................................................... 5
 9
      United States v. Konefal,
10      566 F. Supp. 698 (N.D.N.Y. 1983) .......................................................................... 9, 10
11    United States v. Long,
        706 F.2d 1044 (9th Cir. 1983) ........................................................................................ 3
12
      United States v. Mariani,
13      90 F. Supp. 2d 574 (M.D. Pa. 2000) ............................................................................... 5
14
      United States v. McCoy,
15      492 F. Supp. 540 (M.D. Fla. 1980) ................................................................................ 9
16    United States v. McGuinness,
        764 F. Supp. 888 (S.D.N.Y. 1991) ........................................................................... 6, 11
17
      United States v. North,
18      No. Crim. 88-0080-02, 1988 WL 126241 (D.D.C. Nov. 15, 1988) ............................... 6
19
      United States v. Oakar,
20      924 F. Supp. 232 (D.D.C. 1996) ..................................................................................... 6
21    United States v. Oberski,
        734 F.2d 1034 (5th Cir. 1984) ........................................................................................ 9
22
      United States v. Recognition Equip., Inc.,
23      711 F. Supp. 1 (D.D.C. 1989) ............................................................................... 6, 9, 10
24
      United States v. Resko,
25      3 F.3d 684 (3d Cir. 1993) ............................................................................................... 6
26    United States v. Risk,
        672 F. Supp. 346 (S.D. Ind. 1987) .................................................................................. 9
27
      United States v. Rogers,
28      617 F. Supp. 1024 (D. Colo. 1985)........................................................................ 3, 5, 9

42          Case No. CR 17-00661(A)-DMG           III
             DEFENDANT JULIAN OMIDI’S NOTICE OF MOTION AND MOTION FOR BILL OF PARTICULARS
     Case 2:17-cr-00661-DMG Document 172 Filed 04/25/18 Page 22 of 38 Page ID #:1638

      TABLE OF AUTHORITIES: (continued)                                                                                         Page(s)

 1    United States v. Rosa,
        891 F.2d 1063 (3d Cir. 1989) ......................................................................................... 3
 2
      United States v. Salko,
 3      No. 1:07-CR-0286, 2008 WL 4006747 (M.D. Pa. Aug. 26, 2008) .............................. 11
 4
      United States v. Smith,
 5      65 F.R.D. 464 (N.D. Ga. 1974) ...................................................................................... 3
 6    United States v. Spur Knitting Mills, Inc.,
        187 F. Supp. 653 (S.D.N.Y. 1960) ................................................................................. 4
 7
      United States v. Taylor,
 8      707 F. Supp. 696 (S.D.N.Y. 1989) ................................................................................. 6
 9
      United States v. Thevis,
10      474 F. Supp. 117 (N.D. Ga. 1979) .............................................................................. 3, 6
11    United States v. Trie,
        21 F. Supp. 2d 7 (D.D.C. 1998) .................................................................................... 11
12
      United States v. Trumpower,
13      546 F. Supp. 2d 849 (E.D. Cal. 2008) ...................................................................... 8, 13
14
      United States v. Upton,
15      856 F. Supp. 727 (E.D.N.Y. 1994) ................................................................................. 9
16    United States v. Williams,
        504 U.S. 36 (1992) .......................................................................................................... 6
17
      Wong Tai v. United States,
18      273 U.S. 77 (1927) .......................................................................................................... 3
19
      Statutes
20
      18 U.S.C. § 1028A(a)(1) ...................................................................................................... 1
21
      18 U.S.C. § 1341 .................................................................................................................. 1
22
      18 U.S.C. § 1343 .................................................................................................................. 1
23
      18 U.S.C. § 1956 (a)(1)(A) .................................................................................................. 1
24
25    18 U.S.C. § 1956(h) ............................................................................................................. 1

26    Fed. R. Civ. P. 9(b) .............................................................................................................. 8
27    Fed. R. Crim. P. 7(f)............................................................................................................. 3
28


42           Case No. CR 17-00661(A)-DMG           IV
              DEFENDANT JULIAN OMIDI’S NOTICE OF MOTION AND MOTION FOR BILL OF PARTICULARS
     Case 2:17-cr-00661-DMG Document 172 Filed 04/25/18 Page 23 of 38 Page ID #:1639

      TABLE OF AUTHORITIES: (continued)                                                                                    Page(s)

 1    Other Authorities
 2    1 Charles Alan Wright & Andrew D. Leipold,
         Federal Practice and Procedure: Criminal § 130 (4th ed. 2008).................................. 4
 3
 4    Rules

 5    Fed. R. Evid. 801(d)(2)(E) ................................................................................................... 6
 6
 7
 8
 9
10
11
12
13
14
15
16
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21
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42           Case No. CR 17-00661(A)-DMG           V
              DEFENDANT JULIAN OMIDI’S NOTICE OF MOTION AND MOTION FOR BILL OF PARTICULARS
     Case 2:17-cr-00661-DMG Document 172 Filed 04/25/18 Page 24 of 38 Page ID #:1640



 1                    MEMORANDUM OF POINTS AND AUTHORITIES
 2 I.       NATURE OF INDICTMENT
 3          The indictment in this case fails to set forth critical information regarding the
 4 offenses charged. It alleges a wide-ranging and complex conspiracy between Defendant
 5 Julian Omidi (“Omidi”), along with Defendants Independent Medical Services, Inc.,
 6 (“IMS”) Surgery Center Management, LLC, (“SCM”), and Mirali Zarrabi, M.D.,
 7 (“Zarrabi”), with: thirty-one (31) counts of mail fraud (18 U.S.C. § 1341), (Dkt. 12, ¶43);
 8 two (2) counts of wire fraud (18 U.S.C. § 1343), (id., ¶45); one (1) count of aggravated
 9 identity theft (18 U.S.C. § 1028A(a)(1)), (id., ¶47); two (2) counts of false statements
10 relating to health care matters (18 U.S.C. § 1035), (id., ¶49); one (1) count of conspiracy
11 to commit promotional money laundering (18 U.S.C. § 1956(h), (id., ¶¶51-55); two (2)
12 counts of promotional money laundering (18 U.S.C. § 1956 (a)(1)(A)), (id., ¶57); and
13 seeks four (4) counts of forfeiture.
14          According to the Superseding Indictment, Mr. Omidi was part of a long running
15 scheme to defraud TriCare and the Insurance Companies (defined at ¶27 of Dkt. 12),
16 through procurement of patients for the Lap-Band surgery, through the advertising
17 campaign known as 1-800-GET-THIN, by allegedly falsifying sleep study reports to
18 obtain coverage for patients who would not otherwise qualify for the Lap-Band surgery,
19 as explained below. (See, Dkt. 12, ¶¶8-36.) Although verbose, the Superseding
20 Indictment’s allegations are extremely vague and contain excessive unanswered questions
21 to the extent Mr. Omidi cannot prepare his defense. (See, supra Notice of Motion and
22 Motion.). For example, the Superseding Indictment does not allege: (1) the name of the
23 patient (just initials) at issue; (2) who ultimately made the alleged fraudulent statement
24 and to whom said alleged fraudulent statement was made; (3) the name of the physician(s)
25 involved; (4) the name of the individual who mailed or wired the alleged fraudulent
26 document; and (5) on whose behalf (name of provider) said person was acting when they
27 mailed or wired said document. In essence, the Superseding Indictment leaves out the
28 “who, what, when, where, and how: the first paragraph of any newspaper story.” In re
30
31         Case No. CR 17-00661(A)-DMG           1
            DEFENDANT JULIAN OMIDI’S NOTICE OF MOTION AND MOTION FOR BILL OF PARTICULARS
     Case 2:17-cr-00661-DMG Document 172 Filed 04/25/18 Page 25 of 38 Page ID #:1641



 1 CDNOW, Inc. Sec. Litig., 138 F. Supp. 2d 624, 640 (E.D. Pa. 2001) (quoting In re
 2 Advanta Corp. Sec. Litig., 180 F.3d 525, 534 (3d Cir. 1999)) (internal quotations omitted).
 3          The Superseding Indictment also withholds key names and references initials for
 4 confidential informants, patients, and “others known and unknown.” While two
 5 confidential informants have been identified and disclosed, there are still other names that
 6 are left undisclosed and are simply referred to as CC-2 and “others known.” Some
 7 allegations contain “other individuals.” Mr. Omidi cannot properly defend himself
 8 without knowing the particular patients at issue, his accusers, or the alleged persons
 9 involved in said fraud. The accusers who are working with the government also must be
10 cross-examined as to motive and bias. Mr. Omidi must also have sufficient information to
11 gather exculpatory evidence to defend all of these charges and provide the government,
12 Honorable Court, and/or the jury with said information, especially as to the lack of
13 credibility of the confidential informants and “others.” The absence of this critical
14 information makes it especially difficult for the defendants to prepare a defense and avoid
15 unfair surprise at trial.
16          As currently written, justice requires the Court order the government to file a bill of
17 particulars so that Mr. Omidi knows the nature of the charges and accusations against him
18 with sufficient particularity to defend himself. Otherwise, Mr. Omidi is not able to prepare
19 for trial, and is not on notice of the charges against him in order to properly and
20 effectively defend himself against these egregious, false charges. The current Indictment
21 leaves many unanswered questions, resulting in Mr. Omidi being constantly surprised.
22       Julian Omidi cannot properly defend himself without knowing the particular
23 patients at issue or the alleged persons involved in said alleged fraud he assisted. Julian
24 Omidi must have sufficient information to gather exculpatory evidence to defend all of
25 these charges and provide said information to the government and Honorable Court for
26 pre-trial dismissal consideration and/or Jury. These shortcomings are not mitigated by the
27 availability of discovery. Courts across the country have been clear that the government
28 cannot avoid its duty to advise a defendant of the charges against him, particularly in a
30
31         Case No. CR 17-00661(A)-DMG           2
            DEFENDANT JULIAN OMIDI’S NOTICE OF MOTION AND MOTION FOR BILL OF PARTICULARS
     Case 2:17-cr-00661-DMG Document 172 Filed 04/25/18 Page 26 of 38 Page ID #:1642



 1 complex case like this one, by requiring the defendant to search through a mountain of
 2 documents, here in excess of five million documents provided so far in discovery.
 3 Because the indictment lacks critical information about the charged offenses, Mr. Omidi
 4 moves for a bill of particulars.
 5                                            ARGUMENT
 6 II.      A BILL OF PARTICULARS SHOULD BE GRANTED WHEN THE
            INDICTMENT FAILS TO PROVIDE FACTUAL INFORMATION
 7          REQUIRED BY THE DEFENSE
 8
            Under Rule 7(f) of the Federal Rules of Criminal Procedure, a district court has
 9
      broad discretion to order the government to provide a bill of particulars. See Wong Tai v.
10
      United States, 273 U.S. 77, 82, 47 S. Ct. 300, 302, 71 L. Ed. 545, 548 (1927); United
11
      States v. Long, 706 F.2d 1044, 1054 (9th Cir. 1983). The 1966 amendment to Rule 7(f),
12
      which eliminated the requirement that cause be shown before a court will order a bill of
13
      particulars, was “designed to encourage a more liberal attitude by the courts toward bills
14
      of particulars without taking away the discretion which courts must have in dealing with
15
      such motions in individual cases.” Fed. R. Crim. P. 7(f) advisory committee’s note; see
16
      United States v. Addonizio, 451 F.2d 49, 64 (3d Cir. 1971); United States v. Smith, 65
17
      F.R.D. 464, 468 (N.D. Ga. 1974). In accordance with the spirit of the 1966 amendment,
18
      defendants should “be given the benefit of the doubt in gray areas.” United States v.
19
      Thevis, 474 F. Supp. 117, 124 (N.D. Ga. 1979), aff’d, 665 F.2d 616 (5th Cir. 1982);
20
      accord United States v. Rogers, 617 F. Supp. 1024, 1028 (D. Colo. 1985).
21
            A bill of particulars is designed “to apprise the defendant of the specific charges
22
      being presented to minimize danger of surprise at trial, to aid in preparation [of his
23
      defense] and to protect against double jeopardy.” Long, 706 F.2d at 1054. “[T]he case law
24
      now recognizes that motions for a bill of particulars should be granted whenever an
25
      indictment’s failure to provide factual or legal information significantly impairs the
26
      defendant’s ability to prepare his defense or is likely to lead to prejudicial surprise at
27
      trial.” United States v. Rosa, 891 F.2d 1063, 1066 (3d Cir. 1989). Where a bill of
28
      particulars is “necessary to give the defendant enough information about the charge to
30
31         Case No. CR 17-00661(A)-DMG           3
            DEFENDANT JULIAN OMIDI’S NOTICE OF MOTION AND MOTION FOR BILL OF PARTICULARS
     Case 2:17-cr-00661-DMG Document 172 Filed 04/25/18 Page 27 of 38 Page ID #:1643



 1 prepare his defense, it will be required even if the effect is disclosure of evidence or of
 2 theories.” United States v. Barnes, 158 F.3d 662, 665 (2d Cir. 1998) (internal quotations
 3 omitted).
 4          When a bill of particulars serves one or more of the aforementioned purposes, “it is
 5 no answer to an otherwise proper demand . . . that the particulars sought are evidentiary,
 6 or involve the naming of potential witnesses at trial.” United States v. Greater Syracuse
 7 Bd. of Realtors, 438 F. Supp. 376, 379 (N.D.N.Y. 1977). “Similarly, it is no answer that
 8 the defendant should know the facts demanded, for the defendant is presumed to be
 9 innocent; in any event, the Bill of Particulars is aimed at the facts as alleged by the
10 Government, rather than as they actually exist.” Id.; United States v. Spur Knitting Mills,
11 Inc., 187 F. Supp. 653, 654 (S.D.N.Y. 1960) (stating that the issue is not what the
12 defendant knows, but “what the Government intends to prove”); United States v. Smith,
13 16 F.R.D. 372, 375 (W.D. Mo. 1954) (“Being presumed to be innocent, it must be
14 assumed that he is ignorant of the facts on which the pleader founds his charges . . . .”
15 (internal quotations omitted)); 1 Charles Alan Wright & Andrew D. Leipold, Federal
16 Practice and Procedure: Criminal § 130, at 668 (4th ed. 2008) (“Since the defendant is
17 presumed to be innocent . . . of the charge, he also should be presumed ignorant of the
18 facts on which the charges are based.”).
19          In addition, voluminous discovery does not obviate the need for a bill of particulars.
20 “Given the breadth and complexity of this case, requiring defendant to search through a
21 mountain of discovery does not satisfy the obligation to adequately advise defendant of
22 the charges against him.” United States v. Chen, No. C 05-375, 2006 WL 3898177, at *3
23 (N.D. Cal. Nov. 9, 2006); see also United States v. Bortnovsky, 820 F.2d 572, 575 (2d Cir.
24 1987) (“The Government did not fulfill its obligation merely by providing mountains of
25 documents to defense counsel who were left unguided as to which documents would be
26 proven falsified or which of some fifteen burglaries would be demonstrated to be
27 staged.”).
28
30
31         Case No. CR 17-00661(A)-DMG           4
            DEFENDANT JULIAN OMIDI’S NOTICE OF MOTION AND MOTION FOR BILL OF PARTICULARS
     Case 2:17-cr-00661-DMG Document 172 Filed 04/25/18 Page 28 of 38 Page ID #:1644



 1          Mr. Omidi seeks “clarification [of the Superseding Indictment] in order to prepare a
 2 defense,” Long, 706 F.2d at 1054. The purpose of a Bill of Particulars is clear: Rule 7(f)
 3 of the Federal Rules of Criminal Procedure permits Mr. Omidi to seek a bill of particulars
 4 in order to identify with sufficient particularity the nature of the charge pending against
 5 him, thereby enabling Mr. Omidi to prepare for trial, to prevent surprise, and to interpose
 6 a plea of double jeopardy should he be prosecuted a second time for the same offense.
 7 (United States v. Bortnovsky, 820 F.2d 572, 574 (2d Cir. 1987); United States v. Davidoff,
 8 845 F.2d 1151, 1154 (2d Cir. 1988).)
 9          In both Bortnovsky and Davidoff, the Court of Appeals reversed convictions on the
10 basis that it was error to deny a bill of particulars where the information sought was
11 critical to the defendant’s preparation of a defense and where the bill would have
12 prevented the government’s elusive approach to the prosecution of the case. There is a
13 similar critical need for the information requested here.
14 III.     PARTICULARS SHOULD BE PROVIDED IN THIS CASE
15          The indictment in this case does not contain information critical to the preparation
16 of a defense and necessary to prevent prejudicial surprise at trial. Accordingly, the
17 defendant respectfully request that the Court grant the particulars set forth below in
18 addition to each requested particular in the Chart above.
19        A.    The Government Should Provide Particulars Regarding Alleged Co-
                Conspirators
20
          The superseding indictment alleges a wide conspiracy. However, “the government
21
   must identify undisclosed and unidentified coconspirators, aiders and abettors, and other
22
   individuals involved in the criminal acts charged.” Rogers, 617 F. Supp. at 1028
23
   (collecting cases); see also United States v. Hughes, 817 F.2d 268, 272 (5th Cir. 1987);
24
   United States v. Dempsey, 733 F.2d 392, 394 (6th Cir. 1984); United States v. Mariani, 90
25
   F. Supp. 2d 574, 592 (M.D. Pa. 2000) (holding that, where defendants cannot know with
26
   certainty who the government contends was involved in the allegedly fraudulent scheme,
27
   “disclosure of co-conspirators and other participants in alleged offenses [is] required”);
28
30
31         Case No. CR 17-00661(A)-DMG           5
            DEFENDANT JULIAN OMIDI’S NOTICE OF MOTION AND MOTION FOR BILL OF PARTICULARS
     Case 2:17-cr-00661-DMG Document 172 Filed 04/25/18 Page 29 of 38 Page ID #:1645



 1 United States v. Oakar, 924 F. Supp. 232, 246 (D.D.C. 1996), aff’d in part, rev’d in part
 2 on other grounds, 111 F.3d 146 (D.C. Cir. 1997); United States v. Cutolo, 861 F. Supp.
 3 1142, 1149 (E.D.N.Y. 1994); United States v. McGuinness, 764 F. Supp. 888, 894
 4 (S.D.N.Y. 1991); United States v. Gatto, 746 F. Supp. 432, 477 (D.N.J. 1990), rev’d on
 5 other grounds, 924 F.2d 491 (3d Cir. 1991); United States v. Recognition Equip., Inc., 711
 6 F. Supp. 1, 10 (D.D.C. 1989), overruled in part on other grounds, United States v.
 7 Williams, 504 U.S. 36 (1992); United States v. Taylor, 707 F. Supp. 696, 700 (S.D.N.Y.
 8 1989); United States v. North, No. Crim. 88-0080-02, 1988 WL 126241, at *2 (D.D.C.
 9 Nov. 15, 1988); United States v. DeGroote, 122 F.R.D. 131, 137 (W.D.N.Y. 1988);
10 United States v. Holman, 490 F. Supp. 755, 762 (E.D. Pa. 1980).1
11          A failure to require the government to disclose the identities of all alleged
12 coconspirators would virtually “guarantee prejudicial surprise to the defendant” at trial.
13 Thevis, 474 F. Supp. at 125. Moreover, this information is necessary to the preparation of
14 a defense. In certain circumstances, acts of co-conspirators performed in furtherance of an
15 alleged conspiracy are attributable to all coconspirators. See, e.g., United States v. Resko,
16 3 F.3d 684, 696 (3d Cir. 1993). Similarly, statements of alleged co-conspirators may, in
17 some circumstances, be admitted against the defendants as their own statements. See Fed.
18 R. Evid. 801(d)(2)(E). Thus, at trial, the government may attempt to attribute to the
19 defendants the alleged acts and statements of now unidentified alleged coconspirators.
20 The defendants cannot prepare to rebut such allegations when they do not even know who
21 all of the alleged co-conspirators are claimed to be.
22
23    1
        Although the Ninth Circuit in United States v. Dicesare, 765 F.2d 890 (9th Cir. 1985),
24    determined that a district court had not abused its discretion by refusing to order a bill of
      particulars identifying “the names of any unknown coconspirators” because the defendants
25    had not identified “any prejudice or surprise resulting from the denial of the bill,” it is still
26    within this Court’s discretion to order the government to provide such particulars when, as
      here, the circumstances justify it. See id. at 897-98 (emphasis added). In addition,
27    Dicesare certainly does not support the proposition that the government should not have
28    to identify alleged coconspirators who are known.
30
31         Case No. CR 17-00661(A)-DMG           6
            DEFENDANT JULIAN OMIDI’S NOTICE OF MOTION AND MOTION FOR BILL OF PARTICULARS
     Case 2:17-cr-00661-DMG Document 172 Filed 04/25/18 Page 30 of 38 Page ID #:1646



 1          Accordingly, the defendant requests the following particulars:
 2          1. Identify all alleged co-conspirators and “others” with whom the defendant
 3 purportedly conspired identified in the following but not limited to Paragraphs: Paragraph
 4 23 (“Co-Conspirator 2) (“CC-2”); 37 (CC-2 and “others known and unknown to the
 5 Grand Jury”); 38e (Julian Omidi and “others”); 38g (co-conspirator C.K. and “other”);
 6 38h (“other GET THIN SSP employees”); 38l (Julian Omidi at time directed “GET THIN
 7 employees”); 38m (co-conspirators C.K. and S.H. and “other”) 38p (co-conspirator “C.K.
 8 and others”); 49 (co-conspirators C.K. and S.H., and “others known and unknown to the
 9 grand jury”); 53 (co-conspirators C.K., S.H., and CC-2, defendant ZARRABI, and “others
10 knowns and unknown to the Grand Jury”); 54b (co-conspirators S.H. and CC-2) , 54e
11 (“CC-2); 54h (CC-2), 54i (CC-2), 55 (CC-2 and co-conspirators and “others knowns and
12 unknown to the Grand Jury”), Overt Act 1-3 (CC-2), 57 (together with “others known and
13 unknown to the Grand Jury” and “willfully caused “others””).
14          B.     The Government Should Provide Particulars Regarding Alleged False
                   Statements
15
            It is virtually impossible for Mr. Omidi to defend against the Superseding
16
      Indictment as framed. The government fails to make a definitive statement as to what the
17
      nature of the false statement is that it contends was made to “defraud, devise, participate
18
      in, and execute a scheme” to defraud TriCare and the Insurance Companies as to “material
19
      matters,” and “to obtain money and property from TriCare and the Insurance Companies
20
      by means of material false and fraudulent pretenses, representations, and promises, and
21
      the concealment of material facts. An indictment charging such offenses must identify
22
      both the alleged false statements at issue and in what manner they are claimed to be false.
23
            In addition, Mr. Omidi is seeking a statement from the government as to the nature
24
      of the “false statement.” In order to prepare a defense, Mr. Omidi, is seeking to know if it
25
      is the government’s position that the false statements were made by Mr. Omidi himself or
26
      with his knowledge and/or direction, or if the government is contending that Mr. Omidi
27
      committed said crimes based on association due to vicarious liability for overseeing the
28
30
31         Case No. CR 17-00661(A)-DMG           7
            DEFENDANT JULIAN OMIDI’S NOTICE OF MOTION AND MOTION FOR BILL OF PARTICULARS
     Case 2:17-cr-00661-DMG Document 172 Filed 04/25/18 Page 31 of 38 Page ID #:1647



 1 operations of any said provider. If the statements were not made by Mr. Omidi then Mr.
 2 Omidi requests the identity of the person or persons that made the false statements, when
 3 the statements were made, to who the statements were made, and proof that said
 4 statements are in fact false. Mr. Omidi does not even know the names of the patients at
 5 issue in this indictment, as only patients’ initials are indicated.
 6          “It is generally sufficient that an indictment set forth the offense in the words of the
 7 statute itself as long as those words themselves fully, directly, and expressly, without any
 8 uncertainty or ambiguity, set forth all the elements necessary to constitute the offense
 9 intended to be punished”. (Emphasis added). United States v. Trumpower, 546 F. Supp.
10 2d 849, 850-52 (E.D. Cal. 2008). Additionally, the Trumpower court indicated that two
11 corollary purposes of an indictment are: (1) to ensure that the defendant is being
12 prosecuted on the basis of the facts presented to the grand jury, and (2) to allow the court
13 to determine the sufficiency of the indictment. United States v. Buckley,689 F.2d 893, 896
14 (9th Cir. 1982). Here, it is questionable what Defendant Julian Omidi is being prosecuted
15 for. While Defendant Julian Omidi raises this issue in good faith, he also has sincere
16 concerns that the USA will further retaliate against him for making this request.
17          The indictment’s failure to identify these allegedly false statements and the manner
18 in which they are claimed to be false significantly impairs the defendants’ ability to
19 prepare a defense, and ensures they will be surprised when confronted for the first time
20 with this information at trial.
21          Federal courts have recognized repeatedly the significance of such information, and
22 routinely require the government to provide it in a bill of particulars. As one court has
23 explained:
24          [T]he government must provide particularization of allegedly false
25          statements made by defendants. General allegations of false statements . . .
            are not sufficient. This criminal case should not differ from any civil matter
26          where allegations of fraud and misrepresentations must be pleaded with
27          particularity under Fed. R. Civ. P. 9(b). In fact, application of this rule in
            criminal cases is even more compelling than in civil matters because
28          defendants’ liberty interests are at stake. . . . The government must reveal the
30
31         Case No. CR 17-00661(A)-DMG           8
            DEFENDANT JULIAN OMIDI’S NOTICE OF MOTION AND MOTION FOR BILL OF PARTICULARS
     Case 2:17-cr-00661-DMG Document 172 Filed 04/25/18 Page 32 of 38 Page ID #:1648



 1          substance, date, time, and place of each false statement or concealment and
            the persons involved.
 2
 3          Rogers, 617 F. Supp. at 1029 (citations omitted); see also Bortnovsky, 820 F.2d at
 4 574-75 (2d Cir. 1987) (reversing convictions based on district court’s refusal to order
 5 particulars regarding specific insurance claims and invoices alleged to be fraudulent);
 6 United States v. Oberski, 734 F.2d 1034, 1035 (5th Cir. 1984) (factual details concerning
 7 manner in which statement is alleged to be perjurious “if essential to the defense, can be
 8 obtained in a motion for a bill of particulars”); United States v. Crippen, 579 F.2d 340,
 9 342 (5th Cir. 1978) (factual details concerning manner in which perjurious statement is
10 alleged to be material “if essential to the defense, can be obtained by a motion for a bill of
11 particulars, and failure to grant such a motion may be reversible error” (citation omitted));
12 United States v. Carona, No. SA CR 06-224, 2008 WL 1970199, at *3 (C.D. Cal. May 2,
13 2008) (holding that “[i]f the Grand Jury understood Count Six as alleging that Michael
14 Carona made false and misleading statements,” it would “reconsider Defendants’
15 arguments for a bill of particulars” identifying such statements and the respect in which
16 they are false);
17 United States v. Upton, 856 F. Supp. 727, 753 (E.D.N.Y. 1994) (requiring government to
18 identify documents it intends to prove are false, even though indictment detailed “33
19 specific instances of falsification of records”); Recognition Equip., Inc., 711 F. Supp. at
20 10 (ordering the government to identify “the statements, concealment, and
21 misrepresentations, . . . as well as when and to whom these alleged statements,
22 concealments, and misrepresentations were made”); United States v. Risk, 672 F. Supp.
23 346, 360 (S.D. Ind. 1987) (ordering government “to disclose to the defendant the specific
24 portions, segments, or sentences” of bank report government alleged to be
25 false), aff'd, 843 F.2d 1059 (7th Cir. 1988); United States v. Konefal, 566 F. Supp. 698,
26 703 (N.D.N.Y. 1983) (requiring government to disclose “what statements it contends are
27 false”); United States v. McCoy, 492 F. Supp. 540, 545 (M.D. Fla. 1980) (“The defendant
28 is entitled to a bill of particulars setting forth each false and fraudulent pretense and
30
31         Case No. CR 17-00661(A)-DMG           9
            DEFENDANT JULIAN OMIDI’S NOTICE OF MOTION AND MOTION FOR BILL OF PARTICULARS
     Case 2:17-cr-00661-DMG Document 172 Filed 04/25/18 Page 33 of 38 Page ID #:1649



 1 representation described generally in the indictment.”); United States v. Fassoulis, 49
 2 F.R.D. 43, 45 (S.D.N.Y. 1969) (ordering disclosure of “false statements alleged and a
 3 summary of the respects in which it is claimed that the statements were false”); United
 4 States v. Crisona, 271 F. Supp. 150, 157 (S.D.N.Y. 1967) (ordering disclosure of “the
 5 substance of any false representations”); United States v. Cafaro, 26 F.R.D. 170, 172
 6 (S.D.N.Y. 1960) (ordering disclosure of manner in which statements were claimed to be
 7 false).
 8           Accordingly, the defendant requests the following particulars:
 9           1. Identify all details of the who/what/where/when of any and all alleged false
10 statements identified in the following, but not limited to, allegations in: Counts 1-31, 33-
11 34.
12           C.    The Government Should Provide Particulars Regarding Alleged
                   Omissions
13
             Similarly, the government should provide details of alleged omissions. The failure
14
      to provide sufficient details about these alleged omissions hinders the preparation of a
15
      defense and increases the chance of a surprise at trial. Courts have frequently required the
16
      government to provide this information in a bill of particulars. See Recognition Equip.,
17
      Inc., 711 F. Supp. at 10 (ordering the government to identify “the statements,
18
      concealment, and misrepresentations, . . . as well as when and to whom these alleged
19
      statements, concealments, and misrepresentations were made”); Rogers, 617 F. Supp. at
20
      1029 (“The government must reveal the substance, date, time, and place of each . . .
21
      concealment and the persons involved.”); United States v. Konefal, 566 F. Supp. 698, 703
22
      (N.D.N.Y. 1983) (ordering the government to disclose “the material facts which it
23
      contends the defendants concealed”).
24
             The government alleges that sleep studies were done without an approval of a
25
      qualified physician, or that appropriate health information was altered or left out of
26
      medical records. Mr. Omidi does not know the identity of said physicians other than co-
27
28
30
31         Case No. CR 17-00661(A)-DMG           10
            DEFENDANT JULIAN OMIDI’S NOTICE OF MOTION AND MOTION FOR BILL OF PARTICULARS
     Case 2:17-cr-00661-DMG Document 172 Filed 04/25/18 Page 34 of 38 Page ID #:1650



 1 defendant Dr. Zarrabi. Mr. Omidi also does not know the patients’ names, provider, or
 2 dates of services for a majority of the allegations in this Indictment.
 3          Accordingly, the defendant requests the following particulars:
 4          1. Identify all details of the who/what/where/when of any and all alleged omissions
 5 identified in the following, but not limited to, the allegations in: Counts 1-31, 33-34.
 6          D.     The Government Should Provide Particulars Regarding Money or
                   Property Allegedly Obtained by Fraud
 7
            The superseding indictment generally alleges a scheme and knowing intent to
 8
      defraud. However, the superseding indictment does not identify what specific money and
 9
      property was allegedly obtained, and by specifically by whom. Absent this information,
10
      the defendant is left to speculate about what money or property the government alleges he
11
      fraudulently obtained, unnecessarily hindering the preparation of a defense. See United
12
      States v. Trie, 21 F. Supp. 2d 7, 22 (D.D.C. 1998) (ordering a bill of particulars to disclose
13
      “specific details about the property that [defendant] allegedly obtained . . . in connection
14
      with the alleged scheme to defraud”); McGuinness, 764 F. Supp. at 894 (ordering a bill of
15
      particulars disclosing “[t]he approximate amount and date of each payment referred to in
16
      [certain] overt acts . . . as well as the name of the person making the payment”); United
17
      States v. Salko, No. 1:07-CR-0286, 2008 WL 4006747, at *11 (M.D. Pa. Aug. 26, 2008)
18
      (ordering a bill of particulars to disclose information without which defendant claimed he
19
      “is forced to rely solely on conjecture as to what compensation or money he obtained”
20
      fraudulently (quotations omitted)).
21
            Accordingly, the defendant requests the following particulars:
22
            1. Identify all details of the property allegedly obtained via fraud, including the
23
      particular identification of the property, real or personal, alleged to constitute or be
24
      derived from fraudulent proceeds, including but not limited to who received the money,
25
      proof the money was received, and the amount of currency at issue for Counts where
26
      money is not identified, including but not limited to, Counts 30-31 and 33-34.
27
28
30
31         Case No. CR 17-00661(A)-DMG           11
            DEFENDANT JULIAN OMIDI’S NOTICE OF MOTION AND MOTION FOR BILL OF PARTICULARS
     Case 2:17-cr-00661-DMG Document 172 Filed 04/25/18 Page 35 of 38 Page ID #:1651



 1          E.    The Government Should Provide Particulars Regarding Alleged Money
                  Laundering Charges
 2
            Further, the money laundering counts are not plead with any particularity for
 3
      Defendant Julian Omidi to defend himself. Like in Trumpower:
 4
            The indictment does plead a factual background describing a fraudulent
 5          scheme allegedly carried out for more than *852 3 years, but only in
 6          completely generic terms.
 7          The government argues that they have sufficiently pleaded specific money
            laundering offenses involving funds criminally derived from crimes of mail
 8
            and wire fraud and that they are not required to plead the factual
 9          circumstances of the specific crimes of mail and wire fraud which have
            produced the criminal proceeds involved. The Court observes, however, that
10
            it is a core function of an indictment to provide adequate notice of the
11          charges to a defendant. Hamling, 418 U.S. at 118, 94 S.Ct. 2887. A defense
            cannot be marshaled unless the defendant knows both the statute allegedly
12
            violated and the conduct which allegedly violates the statute. The indictment
13          does plead the elements of a money laundering charge and the kind of crime
            which produced the laundered funds. But the government must ultimately
14
            prove that the specific funds can be related to a specific crime. Without any
15          pleading as to the factual context for that specific crime, the Court is
            concerned that a serious question as to adequate notice has been raised.
16
17          The Court finds that Trumpower is correct that without more information he
            is unable to adequately prepare for trial and there is an undue risk of surprise.
18          Under these circumstances, a bill of particulars is necessary. See Giese, 597
19          F.2d at 1180.

20          Trumpower previously filed a motion for a bill of particulars and in response
            the government filed such a bill. That response provided specific descriptions
21          of the type of misrepresentations Trumpower had used to carry out his
22          fraudulent scheme. The response, however, did not contain any specifics: the
            identification of the names of victims, the time of the events, the
23          circumstances describing the misrepresentations themselves and their
24          materiality, or the circumstances establishing the use of the mails or wire in
            furtherance of the fraudulent scheme. Logic compels the conclusion that this
25          alleged long-term scheme involved a great many persons, and an even greater
26          number of transactions. In this mass of historical facts, there is no way for
            Trumpower to divine how the government intends to prove the specific
27          criminal conduct that produced the criminal proceeds said to be the subject of
28          the money laundering charges. Accordingly the Court orders that the
            government must file a supplemental bill of particulars. This bill of
30
31         Case No. CR 17-00661(A)-DMG           12
            DEFENDANT JULIAN OMIDI’S NOTICE OF MOTION AND MOTION FOR BILL OF PARTICULARS
     Case 2:17-cr-00661-DMG Document 172 Filed 04/25/18 Page 36 of 38 Page ID #:1652



 1          particulars must identify (1) the circumstances of the crime or crimes from
            which the laundered money was derived, including how and when those
 2
            crimes were accomplished; (2) in the case of mail or wire fraud, the particular
 3          false material representations and particular mailings or wire transactions; (3)
 4          who committed the crimes; (4) who were the victims of the crimes; and (5) in
            Count Two, how the allegedly laundered money can be identified as the
 5          proceeds of criminal conduct to the extent that it was ever commingled with
 6          legitimately derived funds.

 7          Trumpower, 546 F. Supp. 2d at 851–52.
 8          Here, Julian Omidi is faced with the same predicament. Julian Omidi does not

 9 know the particular false representations and particular mailings or wire transactions.
10 Likewise, Julian Omidi does not know who his accusers or who the victims are of his
11 alleged crimes. Further, the government has given no allegations that amount to
12 $38,000,000.00, let alone $240,000,000.00. How can Julian Omidi defend himself against
13 general allegations of “$240,000,000.00” in healthcare fraud and “38,000,000.00” and
14 “tens of millions of dollars” in alleged fraud related to sleep studies? (¶39-40 of the
15 Superseding Indictment). Counts 30-31, 33-34 are void of any alleged damages or loss of
16 monetary value related to the alleged fraud. The alleged “Overt Acts” 25-26” for Count
17 35 are void of any monetary value related to the alleged fraud. All of the alleged wrong-
18 doings together do not even add up to a half of a million dollars.
19          Further, as noted above, the fact that the government has made available to defense

20 counsel the voluminous documentary evidence accumulated in connection with this case
21 does not obviate the need for a bill of particulars. Mr. Omid’s Motion does seek to
22 determine “how” the government intends to prove its case, but rather “what” the
23 government intends to prove. Indeed, it is the very extensive nature of the discovery
24 provided that gives rise to the Julian Omidi’s [defendant’s] need for a more specific
25 statement of the charges. See Bartnovsky, 820 F.2d at 575 (“The government did not
26 fulfill its obligation merely by providing mountains of documents to defense counsel who
27 were left unguided as to which documents would be proven falsified….”); Davidoff, 845
28 F.2d at 1155 (Jencks and discovery material may not be automatically relied on by the
30
31         Case No. CR 17-00661(A)-DMG           13
            DEFENDANT JULIAN OMIDI’S NOTICE OF MOTION AND MOTION FOR BILL OF PARTICULARS
     Case 2:17-cr-00661-DMG Document 172 Filed 04/25/18 Page 37 of 38 Page ID #:1653



 1 government as an adequate substitute for a bill of particulars).
 2          Accordingly, the defendant requests the following particulars:
 3          1. Identify all details of the property being sought in any of the Forfeiture
 4 allegations, including but not limited to, the particular identification of the property, real
 5 or personal, alleged to constitute or be derived from proceeds, the person or company that
 6 received the property, the amount of currency at issue for Counts where money is not
 7 identified, including but not limited to Counts 30-31 and 33-34, in addition to the
 8 government’s alleged tracing of said “proceeds” and the identified alleged substitute
 9 property.
10 IV.      CONCLUSION
11          For the above reasons, Julian Omidi respectfully requests that the Court enter an
12 order requiring the government to provide a bill of particulars.
13
14 Dated: April 25, 2018                  Law Offices of Kamille Dean, PLC
15                                        Law Offices of Roger Jon Diamond

16
17                                        By: /s/ Kamille Dean
                                              Kamille Dean
18                                            Roger Jon Diamond
19                                        Attorneys for Defendant
                                          JULIAN OMIDI
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31         Case No. CR 17-00661(A)-DMG           14
            DEFENDANT JULIAN OMIDI’S NOTICE OF MOTION AND MOTION FOR BILL OF PARTICULARS
     Case 2:17-cr-00661-DMG Document 172 Filed 04/25/18 Page 38 of 38 Page ID #:1654



 1                                 CERTIFICATE OF SERVICE
 2
 3          I hereby certify that, on April 25, 2018, I electronically filed the following
 4 document(s) with the Clerk of the Court for the United States District Court for the
 5 Central District of California, by using the district court’s CM/ECF system:
 6          DEFENDANT JULIAN OMIDI’S MOTION FOR BILL OF PARTICULARS
 7
            I further certify that all participants in the case are registered CM/ECF users and
 8
      that service will be accomplished by the district court’s CM/ECF system.
 9
10
                                             s/ Kamille R. Dean
11
                                             Kamille R. Dean, Esq.
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31         Case No. CR 17-00661(A)-DMG             15
                         DEFENDANT JULIAN OMIDI’S MOTION FOR BILL OF PARTICULARS
